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           EXHIBIT 1
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      SUPREME COURT OF THE UNITED STATES
                                 _________________

                            No. 23A243 (23–411)
                                 _________________


        VIVEK H. MURTHY, SURGEON GENERAL, ET AL. v.
                     MISSOURI, ET AL.
                       ON APPLICATION FOR STAY
                              [October 20, 2023]

         The application for stay presented to JUSTICE ALITO and
      by him referred to the Court is granted. The preliminary
      injunction issued on July 4, 2023, by the United States Dis-
      trict Court for the Western District of Louisiana, case
      No. 3:22–cv–01213, as modified by the United States Court
      of Appeals for the Fifth Circuit on October 3, 2023, case
      No. 23–30445, is stayed. The application for stay is also
      treated as a petition for a writ of certiorari, and the petition
      is granted on the questions presented in the applica-
      tion. The stay shall terminate upon the sending down of
      the judgment of this Court.
         JUSTICE ALITO, with whom JUSTICE THOMAS and
      JUSTICE GORSUCH join, dissenting from grant of application
      for stay.
         This case concerns what two lower courts found to be a
      “coordinated campaign” by high-level federal officials to
      suppress the expression of disfavored views on important
      public issues. Missouri v. Biden, ___ F. 4th ___, ___, 2023
      WL 6425697, *27 (CA5, Oct. 3, 2023). To prevent the con-
      tinuation of this campaign, these officials were enjoined
      from either “coerc[ing]” social media companies to engage
      in such censorship or “active[ly] control[ling]” those compa-
      nies’ decisions about the content posted on their platforms.
      Id., at *7, *15. Today, however, a majority of the Court,
      without undertaking a full review of the record and without
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      any explanation, suspends the effect of that injunction until
      the Court completes its review of this case, an event that
      may not occur until late in the spring of next year. Govern-
      ment censorship of private speech is antithetical to our
      democratic form of government, and therefore today’s deci-
      sion is highly disturbing.
         This case began when two States, Missouri and Louisi-
      ana, and various private parties filed suit alleging that pop-
      ular social media companies had either blocked their use of
      the companies’ platforms or had downgraded their posts on
      a host of controversial subjects, including “the COVID–19
      lab leak theory, pandemic lockdowns, vaccine side effects,
      election fraud, and the Hunter Biden laptop story.” Id., at
      *1. According to the plaintiffs, Federal Government offi-
      cials “were the ones pulling the strings,” that is, these offi-
      cials “ ‘coerced, threatened, and pressured [the] social-me-
      dia platforms to censor [them].’ ” Ibid. (alteration in
      original). Based on extensive findings of fact that spanned
      82 pages, the District Court held that the plaintiffs were
      likely to be able to prove their claims and were threatened
      with irreparable harm, and it therefore issued a prelimi-
      nary injunction against a number of Executive Branch
      agencies and officials. Missouri v. Biden, ___ F. Supp. 3d
      ___, 2023 WL 4335270 (WD La., July 4, 2023).
         On appeal, the Court of Appeals agreed with the District
      Court’s assessment of the evidence, which, in its words,
      showed the existence of “a coordinated campaign” of un-
      precedented “magnitude orchestrated by federal officials
      that jeopardized a fundamental aspect of American life.”
      Missouri v. Biden, 2023 WL 6425697, *27. The Court of
      Appeals found that “the district court was correct in its as-
      sessment—‘unrelenting pressure’ from certain government
      officials likely ‘had the intended result of suppressing mil-
      lions of protected free speech postings by American citi-
      zens.’ ” Ibid.
         To stop this “campaign,” the injunction, as it now stands,
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      prohibits the covered officials from doing two things. First,
      they may not “coerce” social media platforms to make “con-
      tent-moderation decisions.” Id., at *32. Second, they may
      not “meaningfully contro[l]” social media platforms’ “con-
      tent-moderation” efforts. Ibid. Displeased with these re-
      strictions, the Government filed an emergency application
      asking us to stay the effect of this injunction pending certi-
      orari.
         Under a straightforward application of the test we use in
      deciding whether to grant a stay, the Government’s appli-
      cation should be denied. To obtain a stay pending the dis-
      position of a petition for a writ of certiorari, an applicant
      must show, among other things, “a likelihood that irrepara-
      ble harm will result from the denial of a stay.” Hol-
      lingsworth v. Perry, 558 U. S. 183, 190 (2010) (per curiam).
      A stay is an “extraordinary remedy that may only be
      awarded upon a clear showing that the plaintiff is entitled
      to such relief.” Winter v. Natural Resources Defense Coun-
      cil, Inc., 555 U. S. 7, 22 (2008) (discussing the similar stand-
      ard for an injunction). Thus, the Government in this case
      must make a “clear showing” of irreparable harm. And to
      do that, it is not enough to “simply sho[w] some ‘possibility
      of irreparable injury.’ ” Nken v. Holder, 556 U. S. 418, 434
      (2009). A mere “ ‘possibility’ standard is too lenient.” Id.,
      at 435 (quoting Winter, 555 U. S., at 22). Instead, the Gov-
      ernment must prove that irreparable harm is “likel[y].”
      Hollingsworth, 558 U. S., at 190. Here, the Government’s
      attempts to demonstrate irreparable harm do not come
      close to clearing this high bar.
         Instead of providing any concrete proof that “harm is im-
      minent,” White v. Florida, 458 U. S. 1301, 1302 (1982)
      (Powell, J., in chambers), the Government offers a series of
      hypothetical statements that a covered official might want
      to make in the future and that, it thinks, might be chilled.
      Application 36–38. But hypotheticals are just that—specu-
      lation that the Government “may suffer irreparable harm
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      at some point in the future,” not concrete proof. White, 458
      U. S., at 1302 (emphasis added). And such speculation does
      not establish irreparable harm. Nken, 556 U. S., at 434; see
      also Clapper v. Amnesty Int’l USA, 568 U. S. 398, 414, n. 5
      (2013) (rejecting similar speculation as insufficient to es-
      tablish an Article III standing injury).
         Moreover, it does not appear that any of the Govern-
      ment’s hypothetical communications would actually be pro-
      hibited by the injunction. Nor is any such example provided
      by the Court’s unreasoned order. The Government claims
      that the injunction might prevent “the President and the
      senior officials who serve as his proxies” from “speak[ing] to
      the public on matters of public concern.” Application 36;
      accord, id., at 3 (suggesting that the Fifth Circuit’s decision
      implicates “the use of the Office’s bully pulpit to seek to per-
      suade Americans”). The President himself is not subject to
      the injunction, see Missouri v. Biden, 2023 WL 6425697,
      *33, and in any event, the injunction does not prevent any
      Government official from speaking on any matter or from
      urging any entity or person to act in accordance with the
      Government’s view of responsible conduct. The injunction
      applies only when the Government crosses the line and be-
      gins to coerce or control others’ exercise of their free-speech
      rights. Does the Government think that the First Amend-
      ment allows Executive Branch officials to engage in such
      conduct? Does it have plans for this to occur between now
      and the time when this case is decided?
         Despite the Government’s conspicuous failure to estab-
      lish a threat of irreparable harm, the majority stays the in-
      junction and thus allows the defendants to persist in com-
      mitting the type of First Amendment violations that the
      lower courts identified. The majority takes this action in
      the face of the lower courts’ detailed findings of fact. But
      “[w]here an intermediate court reviews, and affirms, a trial
      court’s factual findings, this Court will not ‘lightly overturn’
      the concurrent findings of the two lower courts.” Easley v.
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      Cromartie, 532 U. S. 234 (2001); see also Glossip v. Gross,
      576 U. S. 863, 882 (2015); Graver Tank & Mfg. Co. v. Linde
      Air Products Co., 336 U. S. 271, 275 (1949). And the major-
      ity suspends the relief afforded below without a word of ex-
      planation.
         Applying our settled test for granting a stay, I would deny
      the Government’s application, but I would specify in the or-
      der that in the unlikely event that a concrete occurrence
      presents a risk of irreparable harm, the Government can
      apply for relief at that time, including, if necessary, by filing
      an emergency application here. Such an order would fully
      protect the ability of Executive Branch officials to speak out
      on matters of public concern.
         At this time in the history of our country, what the Court
      has done, I fear, will be seen by some as giving the Govern-
      ment a green light to use heavy-handed tactics to skew the
      presentation of views on the medium that increasingly dom-
      inates the dissemination of news. That is most unfortu-
      nate.
